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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                                                MDL No. 3010


              ORDER DENYING MOTION FOR STAY PENDING APPEAL


         Before the Panel: ∗ The action listed on Schedule A (State of Texas) previously was
transferred from the Eastern District of Texas to the Southern District of New York for centralized
pretrial proceedings in MDL No. 3010. See In re Digital Advertising Antitrust Litig., 555 F. Supp.
3d 1372, 1373 (J.P.M.L. 2021). Following centralization, legislation was enacted in late 2022
amending Section 1407(g) to exempt state antitrust enforcement actions arising under federal
antitrust law from MDLs, and plaintiffs in State of Texas then moved for remand to the Eastern
District of Texas. 1 On June 5, 2023, we held that the amendment to Section 1407(g) applies to
State of Texas and ordered remand of the action to the Eastern District of Texas. See In re Google
Digital Advertising Antitrust Litig., __ F. Supp. 3d __, 2023 WL 3828612 (J.P.M.L. June 5, 2023).

        This matter is now before us on Google’s motion to stay the remand order pending its
appeal by petition for writ of mandamus to the Second Circuit under Section 1407(e). 2 The State
Plaintiffs oppose the motion.
                                                I.

        In deciding whether a stay pending appeal is warranted, we weigh the following factors:
(1) whether the applicant has made a “strong showing that he is likely to succeed on the merits”;
(2) “irreparable injury to the applicant in the absence of a stay”; (3) “substantial injury to the
nonmoving party if a stay is issued”; and (4) the public interest. See New York v. United States
Dep’t of Homeland Sec., 974 F.3d 210, 214 (2d Cir. 2020) (per curiam) (citing Nken v. Holder,
556 U.S. 418, 434 (2009)). The two “most critical” factors are likelihood of success on the merits
and irreparable injury. See Nken, 556 U.S. at 434 (“The first two factors of the traditional standard
are the most critical.”)


∗ Judge David C. Norton did not participate in the decision of this matter.

1
  The legislation at issue is part of the Consolidated Appropriations Act, 2023, Pub. L. No. 117-
328, Div. gg, Title III, § 301, 136 Stat. 4459, 5970 (Dec. 29, 2022). The section at issue, titled
“Venue for State Antitrust Enforcement,” amends Section 1407(g) to add the words “or a State”
to the exemption originally created for U.S. antitrust enforcement actions. See id. § 301(1). Thus,
Section 1407(g), as amended, now states: “Nothing in this section shall apply to any action in
which the United States or a State is a complainant arising under the antitrust laws.”
2
 On June 12, 2023, we entered a temporary administrative stay of the remand order to allow full
briefing and consideration of Google’s motion for stay pending appeal.
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       After weighing these factors, we hold that a stay pending appeal is not warranted. Google’s
principal arguments in support of a stay pending appeal are that (1) the Panel erred in interpreting
the Section 1407(g) amendment to apply to actions centralized before its enactment; and
(2) Google will be irreparably harmed absent a stay because, as Google reads applicable precedent,
the Second Circuit risks losing jurisdiction to grant mandamus relief after remand is effectuated,
thus depriving Google of meaningful appellate review. We find these arguments unpersuasive.

        Turning first to the irreparable harm objection, 3 Google is incorrect in asserting that, absent
a stay, it could lose its appeal rights or the Second Circuit could lose jurisdiction to grant
mandamus relief. The main case Google relies on for this argument is In re Warrick, 70 F.3d 736
(2d Cir. 1995), which concerned whether the Circuit had authority to order mandamus relief after
a transfer under 28 U.S.C. § 1404 already had been effectuated – i.e., after the district court had
implemented the order transferring the subject case to the Middle District of Pennsylvania in the
Third Circuit. In that context, the Second Circuit determined: “We lack power to prevent or
reverse the transfer, because the case was received by the Middle District prior to any application
by [petitioner] for a stay.” See id. at 737. The Circuit thus held that it was limited to “directing
the district court [there, the District of Connecticut] to request return of the case from the Middle
District.” See id.

         The Texas action stands in a fundamentally different posture – one that allows the Second
Circuit to grant mandamus relief, should it see fit to do so. Transfer and remand of Texas between
the transferor and transferee court happens under the Panel’s authority under Section 1407, in
contrast to a district court’s authority under Section 1404. Under Section 1407(e), the Panel’s
remand order is subject to “review in the court of appeals having jurisdiction over the transferee
district” – here, the Second Circuit. Thus, should the Second Circuit find error in the remand
order, its order would be directed to the Panel, not to a district court. This is obvious from the
relief requested in Google’s petition for writ of mandamus, in which Google asks the Circuit to
“reverse [the] Panel’s Remand Order, and remand to the Panel with instructions that the State
Plaintiffs’ case should remain in [SDNY] . . . for coordinated pre-trial proceedings.” 4 The fact
that the Texas action would be in the Eastern District of Texas, instead of a district court within
the Second Circuit, does not circumscribe the Second Circuit’s appellate authority over the Panel
under Section 1407(e), or the Panel’s Section 1407(a) authority to transfer and remand cases.

        Second, Google has not made a strong showing that it is likely to succeed on the merits.
Google’s motion for stay largely repeats the arguments it previously made in its opposition to the
States’ motion for remand and, in particular, the argument that the Panel must consider legislative
history at step one of the Landgraf analysis – “whether Congress has expressly prescribed the
statute’s proper reach.” But the remand order explained why consideration of legislative history
is not appropriate: “The Supreme Court in Landgraf cautioned against relying on the deletion of a
retroactivity provision, explaining that such omissions may reflect a political ‘compromise’ and
‘does not tell us precisely where the compromise was struck.’” See 511 U.S. at 256. The cases


3
 The Second Circuit has held that irreparable harm is the “single most important prerequisite” for
preliminary injunctive relief. See, e.g., Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d
110, 118 (2d Cir. 2009).
4
    See In re Google, App. No. 23-910, Doc. No. 1, at 31 (S.D.N.Y. June 20, 2023).
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Google relies upon now are not to the contrary. 5

        Google next argues that it likely will prevail on appeal because, under Landgraf step two,
the Panel did not consider whether Section 1407(g) has “actual retroactive effect” – here,
“undoing” the transfer of Texas to the MDL. But the order plainly shows that we did consider
whether Section 1407(g) has retroactive effect, stating that at Landgraf step two, “we ask whether
application of the statute to pending actions would have a genuinely retroactive effect,” which we
explained turns on “‘whether it [the statute] would impair rights a party possessed when he acted,
increase a party’s liability for past conduct, or impose new duties with respect to transactions
already completed.’” See 2023 WL 3828612, at *2 (quoting Landgraf). The Panel determined
that the Section 1407(g) amendment did not have a “retroactive effect” because it is a venue
provision that does not affect any primary conduct:

       Section 1407 is in the nature of a venue provision for pretrial proceedings;
       moreover, Congress labeled the Section 1407(g) amendment in the Consolidated
       Appropriations Act a “venue” provision – that is, it is located at Section 301 of Title
       III, both of which are captioned “Venue for State Antitrust Enforcement.” The
       venue of an action cannot be characterized as impairing rights that a party had when
       it acted, increasing a party’s liability for past conduct, or imposing new duties.
       Landgraf leaves no doubt on this matter – there, the Court highlighted Section 1404
       as an example of a “procedural” rule that did not raise retroactivity concerns when
       applied to cases arising before its enactment. See 511 U.S. at 275 (“For example,
       in Ex parte Collett, 337 U.S. 55, 71 (1949), we held that 28 U.S.C. § 1404(a)
       governed the transfer of an action instituted prior to that statute’s enactment. We
       noted the diminished reliance interests in matters of procedure.”); see also United
       States v. National City Lines, Inc., 337 U.S. 78 (1949) (applying Section 1404(a) to
       antitrust action filed before its enactment, citing Ex parte Collett).

See id. at *2 (emphasis added). During the Panel briefing on the States’ motion for remand, Google
made no attempt to distinguish the application of Section 1404 to pre-enactment cases in Ex parte
Collett and National City Lines, and its attempt to do so for the first time now during the motion
to stay briefing is unpersuasive. The Supreme Court expressly stated in Landgraf: “Because rules
of procedure regulate secondary rather than primary conduct, the fact that a new procedural rule
was instituted after the conduct giving rise to the suit does not make application of the rule at trial
retroactive.” See 511 U.S. at 275.


5
 Google relies heavily on Rivers v. Roadway Express, 511 U.S. 298 (1994) – a companion case to
Landgraf – concerning the temporal scope of a statutory amendment expanding civil rights
protections in 42 U.S.C. § 1981. But Rivers considered legislative history in a different context –
whether Congress intended to “restor[e] … the understanding of § 1981 that allegedly prevailed
before … Patterson.” See Rivers, 511 U.S. at 304 (citing Patterson v. McLean Credit Union, 491
U. S. 164 (1989)). The Court ultimately rejected petitioner’s argument that the amendment to
§ 1981 was “restorative,” holding that “it [the amendment] creates liabilities that had no legal
existence before the Act was passed,” and thus it did not apply to pre-enactment conduct. See id.
at 313. Given this different context, we do not understand Rivers to mean that legislative history
should be considered at step one of Landgraf – determining whether Congress has “expressly
prescribed” the statute’s reach.
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        Google also relies on footnote 29 of the Landgraf opinion and Justice Scalia’s concurrence
to argue that not all “procedural” rules apply to every pre-enactment pending case. But this
footnote is appended to the Court’s discussion of how Section 1404(a) applies to pre-enactment
pending cases without giving rise to retroactivity concerns, which suggests that venue is not one
of the special kind of procedural rules that should apply to some pending cases but not others.
Additionally, footnote 29 lists as examples “[a] new rule concerning the filing of complaints” and
“a new rule evidence” issued after trial has taken place, explaining that “orders approving
amendments to federal procedural rules reflect the commonsense notion that the applicability of
such provisions ordinarily depends on the posture of the particular case.” See 511 U.S. at 275
n.29. Transfer of venue during pretrial proceedings does not implicate the “commonsense”
concerns raised by footnote 29 – on the contrary, it is in the very nature of Section 1407 that cases
are transferred into and out of MDLs in the midst of pretrial proceedings.

        The remaining two factors in determining whether a stay is warranted are essentially
neutral – specifically, the potential “injury to the nonmoving party if a stay is issued” and the
public interest. The State Plaintiffs assert that delay of remand prevents them from obtaining an
expedited trial date in their original transferor court, and Google asserts that immediate remand
creates duplicative litigation that burdens both Google and the judicial system. In essence, both
the States and Google make arguments premised on what would be most convenient for their
respective sides, and the scales do not tip significantly in favor of either side.

       Accordingly, we deny Google’s motion for stay of remand pending appeal.

                                                 II.

        Google alternatively requests that the Panel stay the remand order for seven days from the
denial of its motion for stay pending appeal to provide Google time to seek a stay pending appeal
from the Second Circuit. We will grant this request. But considering that Google already has had
nearly two months to prepare to apply to the Second Circuit for a stay pending appeal, we will not
entertain any further requests for a temporary administrative stay of the remand order.

     IT IS THEREFORE ORDERED that defendant’s motion for stay pending appeal is
DENIED.

       IT IS FURTHER ORDERED that the temporary administrative stay entered on June 12,
2023, shall expire in seven days. The Panel will not entertain further motions to stay the remand
order.


                                         PANEL ON MULTIDISTRICT LITIGATION


                                        _________________________________________
                                                     Karen K. Caldwell
                                                          Chair

                                      Nathaniel M. Gorton            Matthew F. Kennelly
                                      Roger T. Benitez               Dale A. Kimball
                                      Madeline Cox Arleo
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IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                               MDL No. 3010


                                    SCHEDULE A


            Southern District of New York

      THE STATE OF TEXAS, ET AL. v. GOOGLE, LLC, C.A. No. 1:21−6841
           (Eastern District of Texas, C.A. No. 4:20−00957)
